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                                    DAVIDSON COUNTY, TENNESSEE
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                                    ABU-ALl-ABDUR'RAHMAN, ET AL
                                           Plaintiffs/ Appellants
                                                                           VOLUME 23 of 28


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                                              August 21. 2018

   TONY PARKER, IN HIS OFFICIAL CAPACITY AS TENNESSEE COMMISSIONER OJ<'
                             CO!U{ECTION, ET AL
                              Defendants/ Appellees



                                    Trial Transcript from .July 18, 2018
                                             Pages 2098 - 2205


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   1      label -- I'm sorry.                I skipped a section from
   2      Warner.
   3                 You also testified in Warner that a
   4      toxic dose of Midazolam, it would take about

   5      20 minutes for the person who had ingested a
   6      toxic dose to stop breathing.
   7                 Was that your testimony in Warner?
   8      A.         May have been.
   9      Q.         Let's go to the issue of coma.                       Before
  10      we do that, maybe the issue of pain.                           I want
  11      to talk with you a little bit, Dr. Evans,
  12      about Midazolam and pain.                   Okay?
  13      A.         Sure.
  14      Q.         Midazolam is not an analgesic, is it?
 15       A.         It is not.
 16       Q.         And,     in fact, you testified to that in
 17       2014 in the Howell case, did you not?
 18      A.          I don't recall.
 19       Q.         And then you changed your testimony --
 20                          MR. SUTHERLAND:             Your Honor, if
 21      she's going to ask questions
 22                          THE COURT:          Yes.      You need direct
 23      references.
 24                          MR. SUTHERLAND:             Direct
 25      references in presenting the information


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  1      asserted.

  2                         MS. HENRY:         Sorry, Your Honor.

  3      I'm trying to get smooth transitions.                          I'll

  4      be slow.
   5     BY MS. HENRY:

   6     Q.         I'm showing you, sir, a transcript

   7     from the case of the State of Florida versus

   8     Paul Augustus Howell.
   9                Do you see that there?

 10      A.         Yes.

 11      Q.         Do you see it's dated February 11th,

 12      2014?
 13      A.         Yes.
 14      Q.         And that was one of the cases in
 15      Florida you testified about, correct?

 16      A.         Yes.

 17      Q.         I'm going back to establish when you

 18      testified that there was no pain.                        So on Page

 19      151, Line 19, So has nothing to do with pain?
 20      And your answer at Line 20 is no.                        Line 21,
 21      So the fact that you compare Midazolam with
 22      opioid that has pain-suppressing qualities
 23      has nothing to do with it?                   Answer, At
 24      therapy level, I think you want a therapeutic
 25      use of Midazolam and you'd want to see


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   1     something else.
   2     A.         Yes.
   3     Q.         I'm sorry.         I lost my place.
   4                So then you stated                 we'll go through
   5     the testimony.
   6                If we're talking about inducing,
   7     that's not necessary for -- okay.                       But in
   8     typical practice, you never used Midazolam
   9     alone because it doesn't have any
 10      pain-relieving properties, correct?
 11      A.         Correct.
 12      Q.         Not in therapeutic doses?                  No.     And it
 13      doesn't have any analgesic or pain-relieving
 14      properties at any level, does it?
 15                 Answer, Well, in actuality there's
 16      evidence that would suggest that Midazolam
 17      has been effectively used for its analgesic
 18      properties in lower back pain.
 19                 Line 13, But when we start talking
 20      about general surgical procedures, this drug
 21      would not be my choice to use by itself.
 22                 Line 15, Now, in the Chavez testimony,
 23      you remember that you testified, correct?
 24      Answer, yes.          Question, You testified in that
 25      case that Midazolam has absolutely no


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    1     pain-relieving properties.                    Are you changing
    2     your testimony?
    3                Answer, Line 21, Well, yes, because I
    4     did have a chance to do more digging.
    5                That was your answer, sir?
    6     A.         Yes.
   7      Q.         And then just now I asked you if
   8      Midazolam had any analgesic properties and
   9      you testified that it does not, correct?
  10      A.         I did.
  11      Q.         So you did more digging since Howell,
  12      correct?
  13      A.         Yes.
  14      Q.         Well, in fact
  15                         MR. SUTHERLAND:             Can he speak?
  16                         THE COURT:          Well, I couldn't tell
  17      if he had something else to answer.                         She
  18      asked if he had done a little more digging.
  19     He said yes.
 20                          Was there something else you
 21      wanted to answer on that, Dr. Evans?
 22                          THE WITNESS:           Yes.      There is some
 23      pretty hypothetical information that very
 24      high doses of this drug may have analgesic
 25      effects.         I think that's -- so in some

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   1      respects, I have been willing to make that an
   2      issue because it is so hypothetical.
   3                         THE COURT:          I'm going to strike
   4      that answer.          Because when you provide an
   5      explanation, it has to relate to the
   6      question.        So the question was did you do
   7      more digging.           You said yes.           What was the
   8      digging?        Were there articles, talking to
   9      people, how many, what were they, et cetera
  10      so I can judge, assess how much weight and
  11      whether this is credible or not.
  12                         When you explain the answer to
  13      the question, it has to relate to the
  14      question.        So it's got to relate to the
  15     digging.
 16                          So is there anything you want to
 17      tell me about?            You did a little more
 18      digging.        What was the digging that you did?
 19                          THE WITNESS:          Digging was
 20      research.
 21                          THE COURT:         Into what?
 22                          THE WITNESS:          Into additional
 23      effects of the Midazolam.
 24                         THE COURT:          And what did you
 25      research?         Where did you find this?


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   1                         THE WITNESS:           Your Honor,         I don't

   2      remember the journal, but it was in a

   3      journal.
   4                         THE COURT:          It was in a journal.

   5                         THE WITNESS:           Yes.
   6                         THE COURT:          Was that the
   7      explanation about the digging that you wanted
   8      to provide?
   9                         THE WITNESS:           Yes.
  10                         THE COURT:          All right.         Next
  11      question.
  12      BY MS. HENRY:
  13      Q.         In your declaration for this case, Dr.
 14       Evans, you cite the Coll-Vincent article that
 15      was discussed on direct-examination as proof
 16      that Midazolam is used in cardioversion as a
 17       sole anesthetic agent,               correct?
 18      A.          Yes.
 19      Q.          And you also cite the Parlack article
 20      from 2006, correct?
 21      A.          I did.
 22      Q.          The Parlack article in actuality says
 23      that they used -- the study in that case used
 24      Fentanyl along with Midazolam; isn't that
 25      correct?


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   1      A.         Yes.
   2      Q.         In the Coll-Vincent article, I pointed
   3      out to you in your deposition the protocol
   4      called for the anesthesiologist to administer
   5      the drugs that he would normally use in his
   6      or her standard practice, which we
   7      established is Fentanyl along with the
   8      Midazolam for cardioversion, correct?
   9     A.          And I disagree.
  10      Q.         You disagree with me?
  11     A.          Right.
  12      Q.         So let's take a look at the article.
  13      I believe it's already in evidence as Exhibit
  14      14 3 .

  15                         THE COURT:         Exhibit 143, you
  16     should have it.             Do you have that, Dr. Evans?
  17                         THE WITNESS:           I   do.    Should have.
 18      Here it is.
 19      BY MS. HENRY:
 20      Q.         And if you look, sir, at Page 768,
 21      second column, first full paragraph beginning
 22      with cardioversions, and the whole paragraph
 23      states, Cardioversions were performed in a
 24      room with the equipment necessary for
 25      cardioversion and for emergency


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